The judgment in this case was entered March 29, 1947, affirming an order of the Industrial Commission dated June 7, 1946.
Workmen's compensation.  For approximately twenty-four years prior to September 27, 1945, the claimant had been in the employ of the plaintiff in its street department.  The claimant was subject to call at irregular times in case of emergencies. On September 27, 1945, claimant quit at the usual time but a severe rainstorm developed late in the afternoon of that day and about 6 p.m. on the same day the plaintiff was called at his home pursuant to the direction of the foreman of the street department and was advised that because of an emergency he should report for work.  The claimant did not respond immediately, but after eating his supper, he was taken to the place of his employment by his son and continued working until approximately 9 o'clock p.m.  The last place where there might have been trouble was at the corner of Jefferson and Church streets.  The last stop was made at that corner but it was not necessary for either the plaintiff or the foreman to leave the foreman's car in which they were riding because it appeared that the conditions there were satisfactory.  The claimant lived on Church street about one hundred twenty feet from the corner where the last stop was made.  The foreman was using a borrowed car and had used it to transport the claimant and other employees to two different places where work was to be done.  The foreman drove from the corner of Church and Jefferson streets along Church street to a point opposite the plaintiff's home.  The claimant left the car on the side of the street opposite his home and a short time later was found in a dazed condition at the curb in front of his home. There was no agreement or understanding between the claimant and the city that the claimant was to be transported to or from his home.  The service rendered claimant by the *Page 499 
foreman was a mere gratuity and not pursuant to any agreement of the parties.
The examiner found that the injuries sustained by claimant did not arise out of his employment and was not suffered in the course of his employment and dismissed the application. There was a petition for review whereupon the commission proceeded without hearing and made findings contrary to those of the examiner and entered an order directing payment of compensation to the claimant.  An action was brought to review the order of the commission and, upon hearing, the order was affirmed by the court, from which the plaintiffs appeal.
Upon the evidence, which is practically undisputed, the trial court concluded that at the time Mitchell sustained his injury he was still at work.  The court said:
"He was on a special errand and he was at work from the moment he embarked on the trip to the first sewer until he reached his destination (home) from the last sewer.  He was not injured going to or from work.  He was injured, we repeat, at work."
The claimant testified:
"I am supposed to go to the tank when anything happens. My boy drove me to the tank and the men weren't there but we found them working down on East Court street. .  . . We looked at all the intakes on the way down to the north end of the pumping station up there, and we come back from there and headed for town again and I was on my way home.  I was on the corner there by the neighbor and we looked at the intake there and that is about one hundred feet from my place. . . . *Page 500 
After we looked at that last intake, the street commissioner took me home in the car."
The claimant reported not at the place where the work was being done but to the place where he was accustomed to receive his orders.
Sec. 102.03 (1) (c), Stats. 1945, among other things, provides:
"Every employee going to and from his employment in the ordinary and usual way, while on the premises of his employer, shall be deemed to be performing service growing out of and incidental to his employment."
In Western Fruit Co. v. Industrial Comm. (1931) 206 Wis. 125,127, 238 N.W. 854, it was held:
"This implies that while so going an employee is not within the statute unless he is on the employer's premises, except the going to or from work can under the circumstances be considered as `performing service growing out of and incidental to his employment.'"
In that case the president and general manager of the plaintiff about three fourths of the time was accustomed to take two women employees home.  This was a gratuity.  There was no contract that the women were to be transported.  On the way home Rau and the women were injured in an accident. It was held that the women were not performing service for the plaintiff growing out of and incidental to their employment, and if they were not, then Rau was not performing service for the plaintiff.  The judgment of the circuit court which affirmed an award of compensation was reversed.
The only distinction between that case and this is that Rau was accustomed to transport the women several blocks while in this case the foreman transported the claimant only one hundred twenty feet from the place where he quit work.  If any effect at all is to be given to the provision of the statute already quoted, then at the very least, after the claimant left *Page 501 
the corner of Church and Jefferson streets, he was not performing any service growing out of or incidental to his employment. The service he was to render the city had been completed and there was nothing further for him to do but to go home.  After claimant left the corner he was on his way home and not at work.
In Caravella v. Milwaukee (1927), 194 Wis. 190,215 N.W. 911, it was held:  The fact that at the time of the accident, a city street cleaner happened to be traversing a street on which he might later be required to work, does not make such street at the moment of injury "the premises of his employer" within the meaning of sub. (2), sec. 102.03, Stats.
In Krebs v. Industrial Comm. (1929) 200 Wis. 134,227 N.W. 287, an employee was only twenty feet from his employer's premises when injured but, being on his way to work and not on his employer's premises, he was held not to be performing service for the employer.
The rights of the claimant and the liabilities of the plaintiffs are not altered by reason of the fact that the claimant completed his service while he was only one hundred twenty feet from home instead of one thousand.
By the Court. — The judgment appealed from is reversed, and cause remanded with directions to set aside the award of the Industrial Commission. *Page 502 